              Case: 1:18-cv-07378 Document #: 63 Filed: 03/26/19 Page 1 of 1 PageID #:582


                     United States District Court for the Northern District of Illinois


        Case Number: 18cv7378                           Assigned/Issued By: LA

        Judge Name: BLAKEY                              Designated Magistrate Judge:


                                                FEE INFORMATION


    Amount Due:                  $400.00             $46.00            $5.00

                                 IFP                 No Fee                Other

                                 $505.00

    Number of Service Copies                                  Date:

                                          (For Use by Fiscal Department Only)

    Amount Paid:                                              Receipt #:

    Date Payment Rec’d:                                       Fiscal Clerk:


                                                     ISSUANCES

          ✔       Summons                                              Alias Summons

                  Third Party Summons                                  Lis Pendens

                  Non Wage Garnishment Summons                         Abstract of Judgment

                  Wage-Deduction Garnishment Summons

                  Citation to Discover Assets                                 (Victim, Against and $ Amount)


                  Writ
                             (Type of Writ)


  1         Original and 1               copies on 03/26/2019         as to
                                                         (Date)
 Gurpreet Taneja (a/k/a Guru Taneja)



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